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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MARYLAND

CHALEE DENNIS                                 *
                                              *
               v.                             * Civil No. JFM-08-385
                                              *
STEVEN HEARNE, M.D., ET AL.                   *
                                            *****

                                            ORDER


       As stated in the accompanying memorandum to counsel, it is, this 25th day of April 2008

       ORDERED

       1. The parties’ joint motion to transfer is denied;

       2. This action is dismissed for lack of subject matter jurisdiction (there not being any

diversity of citizenship between the parties); and

       3. Plaintiffs are directed, if they wish to pursue the claims set forth in this action, to file a

new case in the Circuit Court for Wicomico County, Maryland.




                                               /s/
                                               J. Frederick Motz
                                               United States District Judge
